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Masha Simonova
Associate                                Plaintiff's request to withdraw the referral for a settlement
212.390.9000                             conference is DENIED. The parties shall proceed with the
msimonova@selendygay.com
                                         settlement conference scheduled for August 23, 2023, and
July 19, 2023                            make a good-faith effort to reach an agreement. If, after the
                                         settlement conference is held, no agreement is reached, the
                                         parties shall file a joint letter proposing a briefing schedule for
                                         a motion on summary judgment that closely follows: three
Via ECF                                  weeks for Defendant to file the motion, three weeks for
                                         Plaintiff to respond and ten days for Defendant to reply.
Hon. Lorna G. Schofield
United States District Court, S.D.N.Y.
                                         So Ordered.
500 Pearl Street
New York, NY 10007
                                       Dated: July 20, 2023
                                              New York, New York
Re:      Maxius v. Mount Sinai Health Systems, Inc., et al., No. 21 Civ. 10422 (LGS)
         (BCM) (S.D.N.Y.)

Dear Judge Schofield:

        Plaintiff in the above-titled action submits this letter respectfully requesting the
Court to withdraw its referral to Judge Lehrburger for a settlement conference and proceed
to summary judgment briefing. Plaintiff was initially receptive to the mediation process to
efficiently resolve this dispute without further litigation. However, the distance between
the parties’ acceptable settlement ranges renders mediation futile. Accordingly, rather than
expend the Court’s and Defendants’ resources, Plaintiff would prefer to proceed directly
to summary judgment.

         Pursuant to this Court’s order of June 29, 2023, ECF No. 110, Plaintiff sought to
file a joint letter. Defendants refused the request.

       Defendants proposed the following briefing schedule, which Plaintiff does not
oppose:

             1. Defendants’ motion for summary judgment due by August 18, 2023

             2. Plaintiff’s opposition to Defendants’ motion due by September 15, 2023

             3. Defendants’ reply in support of summary judgment due by September 29,
                2023
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Hon. Lorna G. Schofield
July 19, 2023



         Respectfully submitted,

         /s/ Masha Simonova

         Masha Simonova

cc:      Ms. Abbelen Maxius        (via ECF)
         All Counsel of Record     (via ECF)




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